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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

SHAWANA HARRIS

and

ALICIA CELESTINE Case No.
Plaintiffs,

v.

COMPLETE LOGISTICAL

SERVICES, LLC,

a Louisiana limited liability company,

and

SPENCER SENS,

Defendants.

 

COMPLAINT

COME NOW Plaintiffs SHAWANA HARRIS (“Harris”) and ALICIA
CELESTINE (“Celestine”) (Harris and Celestine collectively referred to herein as the
“Plaintiffs”), by and through their undersigned counsel, and file this Complaint for
violation of the Fair Labor Standards Act against Defendants COMPLETE
LOGISTICAL SERVICES, LLC, a Louisiana limited liability company (“CLS”), and
SPENCER SENS (“Sens”) (CLS and Sens collectively referred to herein as the

“Defendants’’) and alleges as follows:

GENERAL ALLEGATIONS

1 Plaintiffs, who were employed by Defendants from sometime prior to

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June 2015 through March 21, 2018, bring this action against CLS and Sens to redress
the deprivation of rights secured to Plaintiffs by the minimum wage and maximum
hour provisions and to recover unpaid minimum wages and overtime compensation,
liquidated damages, attorney’s fees and costs pursuant to the provisions of the Fair
Labor Standards Act of 1938, as amended, 29 U.S.C. §201(b), et seq. (hereinafter the
“FLSA”). Plaintiff Harris also brings an action personally against Defendant Sens for
assault and battery and intentional infliction of emotional distress under Louisiana
State law.

2. Jurisdiction of this action is conferred on this Court by 29 U.S.C.
§216(b) and by the provisions of 28 U.S.C. §1337 relating to “any civil action or
proceeding arising under an act of Congress regulating commerce.” This Court has
supplemental jurisdiction over the Louisiana state law claims raised hereunder
pursuant to 28 U.S.C. §1367 because the claims are part of the same case or
controversy as the FLSA claims over which the court has original jurisdiction.

3 Venue is proper with this Court under 28 U.S.C. §1391(b)(1) because
Defendants reside in this district and the acts and omissions set forth herein occurred
within the territorial jurisdiction and district of this Court.

4. At all times material hereto, the Plaintiffs are and were residents of the
Parish of Lafayette, Louisiana, with Plaintiff Harris residing at 127 Benton Drive,
Lafayette, LA 70507, and Plaintiff Celestine residing at 312 Haig Street, Lafayette,
LA 70501.

5. At all times material hereto, CLS was a company doing business in

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Louisiana with its current business address at 4400 Poche Court West, New Orleans,
Louisiana, 70129 in the Parish or Orleans, Louisiana, within the jurisdiction and
district of this Court.

6. During the time period from prior to June 2015 through to March 21,
2018, CLS employed the Plaintiffs as “at-will”, nonexempt, employees, having
employed Harris from prior to June 2015 to March 21, 2015, and Celestine from prior
to June 2015 to April 6, 2017.

Ti Plaintiffs are informed and believe and hereby allege that at all times
material hereto, Defendant Sens was a resident of the Parish of Orleans, Louisiana.

8. At all times material hereto, Defendant Sens was an officer and/or
administrator of and a direct or indirect supervisor and employer of Plaintiffs within
the meaning of 29 U.S.C. §203(d) in that Defendant Sens was the Managing Member
of Defendant CLS and acted directly in the interest of CLS in relation to its
employees, including Plaintiffs and other employees.

9. Plaintiffs are informed and believe and hereby allege that during the
relevant time periods material hereto, CLS’s gross annual revenues were in excess of
$500,000.00 and is thus subject to the FLSA. See Dobbins v. Scriptfleet, Inc., 2012
WL 601145, at *2 (M.D.Fla. Feb. 23, 2012) (Bucklew, J.) (allegation, on information
and belief, that defendants’ annual gross sales exceeded $500,000 was sufficient to
withstand dismissal); Roberts v. Caballero & Castellanos, PL. 2010 WL 114001, at *3

(S.D.Fla. Jan. 11, 2010) (Moore, J.) (allegation that plaintiff “was of the belief that

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[defendant] grossed in excess of $500,000 annually” was sufficient to withstand
dismissal).

10. At all times material hereto, CLS was engaged in interstate commerce
within the meaning of 29 U.S.C. §§203(b), 203(1), 203(j), 203(r), 203(s) 206(a) and
207(a). Specifically, at all times material hereto, CLS operated a logistical services
company for the offshore maritime industry, and is thus subject to the FLSA.

11. By reason of the foregoing, CLS was all times hereafter mentioned
engaged in commerce or in the production of goods for commerce as defined in 29
U.S.C. §§203(r) and 203(s).

12. At all times material hereto, Plaintiffs in performing their job duties
were engaged in commerce within the meaning of 29 U.S.C. §§203(b), 203(1), 203(o),
203(r), 203(s), 206(a) and 207(a). The work performed by Plaintiffs was directly
essential to the business of CLS, i.e., working as a logistics specialist and/or a data
entry specialist for CLS, which was directly essential to the business operated by
CLS. Furthermore, Plaintiffs were engaged in interstate commerce because Plaintiffs
regularly and recurrently handled transactions that involved goods and customers
outside of the State of Louisiana. See 29 C.F.R. §779.114.

13. As a logistics specialist Plaintiff Harris was paid a salary of $59,000
per year or approximately $1,134 per week for all hours worked per week during her
entire employment with Defendants. Plaintiff Celestine was paid an hourly wage of
$12.00 per hour for the hours under 40 per week that she worked, although she was

not paid for all of the hours that she worked under forty (40) per week. However,

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neither of the Plaintiffs were paid for the hours over forty (40) per week that they
worked.

14. At all times material hereto, Plaintiffs did not have a clear
understanding as to how they were to be compensated with respect to their work and,
in particular, the hours that they worked over forty (40) per week.

15. On or about March 21, 2018, Plaintiff Harris’ employment with CLS
was terminated by Defendant SENS in an extremely violent and aggressive manner.

16. Specifically, on March 21, 2018, Defendant Sens went to the
company’s office at 1610 Saint Etienne Road, Broussard, Louisiana, where Plaintiff
Harris was working and, after Defendant Sens walked in to the office, saw Plaintiff
Harris on the telephone and told her to hang up the telephone and that her
employment was being terminated effective immediately.

17. Plaintiff Harris was scared, frightened and apprehensive by the conduct
of Defendant Sens, but managed to tell Defendant Sens that she would need to pack
up her things and leave, at which point Defendant Sens picked up a cardboard box,
dumped everything that was inside the box and began throwing all of Plaintiff Harris’
personal belonging that were on her desk in the box, such as photos, radio, and other
personal items. Some of the personal items broke due to being thrown in the box so
violently.

18. Plaintiff Harris then reached for the company cell phone that she used
for her work and informed Defendant Sens that she would need to delete all of her

personal items in the cell phone, at which point Defendant Sens said that everything

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in the office belongs to him and lunged at her and forcefully and with violence
wrenched the cell phone from Plaintiff Harris’ hand, breaking three of her fingernails
in the process and bruising her hand, causing her to bleed.

19. After the assault, Plaintiff Harris was shocked and feared for her safety,
at which point Defendant Sens seeing the damage that he had caused returned the cell
phone to Plaintiff Harris and allowed Plaintiff Harris to delete her personal items
from the cell phone.

20. ‘Plaintiff Harris left the office, but was so scared after the violent
incident that she could not drive her car and sat in her car for several minutes to gain
her composure.

COUNT I
VIOLATION OF THE OVERTIME WAGE PROVISIONS OF
THE FAIR LABOR STANDARDS ACT BY DEFENDANTS
(Against Defendants CLS and Sens)

21. Plaintiffs reallege and reaffirm Paragraphs 1 through 20 as if fully set
out in this Count I.

22. During the period of time from prior to June 2015 to March 21, 2018,
Plaintiff Harris worked as a logistical specialist for Defendants, and during the period
of time from prior to June 2015 to April 6, 2017, Plaintiff Celestine worked as a data
entry specialist for Defendants CLS and Sens.

23. During the mentioned period of time, Plaintiffs worked as much as
eighty (80) hours per week for the Defendants.

24. During the mentioned period of time, Plaintiffs were not paid any

overtime compensation for the hours that they worked over forty (40) per week.
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25. As such, Plaintiffs are owed overtime compensation, plus liquidated
damages pursuant to 29 U.S.C. §201(b), et seq. for the hours that they worked over
forty (40) per week.

26. Defendants knew or should have known that Plaintiffs suffered or were
permitted to work for CLS as defined in 29 U.S.C. §203(g) more than forty (40) hours
per week.

27. Defendants failed and/or refused to compensate Plaintiffs for such work
at the federally mandated overtime wages, contrary to the provisions of 29 U.S.C.
§207(a).

28. Atall times material hereto, Defendants knew that the herein described
refusals and/or failures were prohibited by the FLSA and intentionally and willfully
violated the FLSA as cited herein and/or showed reckless disregard for whether the
herein described refusals and/or failures were in violation of the FLSA.

29. At all times material hereto, Defendants failed to maintain proper time
records as mandated by the FLSA regarding the overtime hours worked by Plaintiffs.

WHEREFORE, Plaintiffs respectfully request that a judgment be entered in
their favor against Defendants as follows:

(a) Declaring, pursuant to 28 U.S.C. §2201 and §2202, that the acts and
practices complained of herein are in violation of the overtime wage provisions of the

FLSA;

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(b) Permanently enjoin the Defendants, their agents, officers and
employees from engaging in all practices found by this Court to be in violation of the
FLSA;

(c) Awarding Plaintiffs compensation for all hours that they worked for
Defendants, but for which they were not compensated at the statutory federally
mandated overtime wages;

(d) Awarding Plaintiffs liquidated damages;

(e) Awarding Plaintiffs reasonable attorneys’ fees, costs, and expenses of
this litigation pursuant to 29 U.S.C. §216(b); and

(f) Ordering any other further relief that this Court may deem just and
proper.

COUNT II
VIOLATION OF THE MINIMUM WAGE PROVISIONS OF
THE FAIR LABOR STANDARDS ACT BY DEFENDANTS
(Against Defendants CLS and Sens)

30. Plaintiff Celestine realleges and reaffirms Paragraphs 1 through 20 as if
fully set out in this Count II.

31. During the period of time from prior to June 2015 to April 6, 2017
Plaintiff Celestine worked as a data entry specialist for Defendants CLS and Sens.

32. During the mentioned period of time, Plaintiff Celestine worked at least

forty (40) hours per week and, as stated above, as much as eighty (80) hours per week

for the Defendants.

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33. During the mentioned period of time, Plaintiff Celestine was not paid
the federally mandated minimum wage for all of the hours that she worked under
forty (40) per week.

34. As such, Plaintiff Celestine is owed the minimum wage, plus liquidated
damages pursuant to 29 U.S.C. §201(b), et seq. for the hours that she worked but was
not paid.

35. Defendants knew or should have known that Plaintiff Celestine
suffered or was permitted to work for CLS as defined in 29 U.S.C. §203(g) at least
forty (40) hours per week.

36. Defendants failed and/or refused to compensate Plaintiff for such work
at the federally mandated minimum wage, contrary to the provisions of 29 U.S.C.
§207(a).

37.  Atall times material hereto, Defendants knew that the herein described
refusals and/or failures were prohibited by the FLSA and intentionally and willfully
violated the FLSA as cited herein and/or showed reckless disregard for whether the
herein described refusals and/or failures were in violation of the FLSA.

38. At all times material hereto, Defendants failed to maintain proper time
records as mandated by the FLSA regarding the hours worked by Plaintiff Celestine.

WHEREFORE, Plaintiff Celestine respectfully requests that a judgment be

entered in her favor against Defendants as follows:

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(a) Declaring, pursuant to 28 U.S.C. §2201 and §2202, that the acts and
practices complained of herein are in violation of the minimum wage provisions of
the FLSA;

(b) Permanently enjoin the Defendants, their agents, officers and
employees from engaging in all practices found by this Court to be in violation of the
FLSA;

(c) Awarding Plaintiff Celestine compensation for all hours the hours that
she worked for Defendants, but for which she was not compensated at the statutory
federally mandated minimum wage;

(d) Awarding Plaintiff Celestine liquidated damages;

(e) Awarding Plaintiff Celestine reasonable attorneys’ fees, costs, and
expenses of this litigation pursuant to 29 U.S.C. §216(b); and

(f) Ordering any other further relief that this Court may deem just and
proper.

COUNT III
ASSAULT AND BATTERY
(Against Defendant Sens)

39. Plaintiff Harris realleges and reaffirms Paragraphs 1 through 20 above
as if fully set out in this Count III.

40. - Defendant Sens without proper grounds, willfully and maliciously
attacked Plaintiff Harris in the office without just cause and broke Plaintiff Harris’
fingernail and caused injury to Plaintiffs hand. The injuries suffered by the Plaintiff

Harris were inflicted while she was presenting no immediate threat to anyone.

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41. As a direct and proximate result of the willful, wanton, malicious and
intentional actions of Defendant Sens, the Plaintiff suffered severe injury to her hand
and fingernails, mental anguish, humiliation and embarrassment.

WHEREFORE, Plaintiff Harris demands judgment against Defendant Sens in
the amount to be determined by this Court.

COUNT IV
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Against Defendant Sens)

42. Plaintiff Harris realleges and reaffirms Paragraphs 1 through 20 above
as if fully set out in this Count IV.

43. Defendant Sens intentionally caused severe emotional distress to
Plaintiff Harris by his willful, wanton, extremely reckless and indifferent conduct,
including but not limited to engaging in a senseless physical attack upon the person of
the Plaintiff Harris which directly led to the injuries suffered by Plaintiff Harris.

44. The actions of Defendant Sens go well beyond all bounds of decency
and were done with the purpose of inflicting emotional distress and fear.

45. That the aforesaid actions by said Defendant Sens was so outrageous in
character and were so extreme in degree that a reasonable member of the community
would regard such conduct as atrocious, going beyond all possible bounds of decency
and as being utterly intolerable in a civilized community.

46. Asa direct and proximate result of the Defendant’s extremely, reckless
and indifferent conduct, Plaintiff Harris suffered severe pain, emotional distress,
mental anguish and physical injuries as the result of the attack by Defendant Sens.

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WHEREFORE, Plaintiff Harris demands judgment against Defendant Sens in

the amount to be determined by this Court.
PLAINTIFFS’ DEMAND FOR JURY TRIAL

47. Plaintiffs by and through their undersigned counsel, hereby demand a
jury trial of all issues so triable.

WHEREFORE, Plaintiffs respectfully request that a judgment be entered in
their favor against Defendants as stated above.

Respectfully submitted this 14" day of June, 2018.

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mac daddy

"Mac Daddy” or Mack Daddy, is a term used to
describe a man with an unusual power over
women, and is derived from the French and
later Louisiana Creole patois term "maqereau",
which means “pimp”. Adding "daddy" makes it
mean "top pimp”. The '70's black-exploitation _
movie "The Mack", a dramatization of the life of
a street pimp, furthered the popularity of the
term in urban America. This use of "mac" is
quite different from the Scottish/Gaelic term
"mac" (son of) used to address an unknown
man.

Freddy got five chicks on the south side
alone... he 'da mac daddy!

#pimp #player #hustler #gigolo #rapper

by J.L.G. 789 January 30, 2006

 

 

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mac daddy

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c_logistical In honor of #InternationalWomensDay,
Complete Logistical Services would like to honor
these ladies for their continued support and
dedication. Ladies, your hard work and devotion to
CLS does not go unnoticed. Cheers to you!

MARCH 8

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